               Case: 1:18-cv-01468 Document #: 11 Filed: 03/14/18 Page 1 of 2 PageID #:718
                          United States District Court Northern District of Illinois
                          MOTION FOR LEAVE TO APPEAR PRO HAC VICE
Case Title:                                                                                                          Plantiff(s)
               Whitebox Advisors, LLC
                                                                             VS.

               Earl of Sandwich (Atlantic City), LLC                                                                 Defendant(s)


Case Number: 1:18-cv-01468                                        Judge: Robert W. Gettleman


I,   Jeffrey Chubak                                                                                         hereby apply to the Court


under Local Rule 83.14 for permission to appear and participate in the above-entitled action on behalf of

Earl of Sandwich (Atlantic City), LLC                                                              by whom I have been retained.

I am a member in good standing and eligible to practice before the following courts:
                                                Title of Court                                                          DateAdmitted
                                             State of New York                                                                2008
            U.S. District Courts for the Southern and Eastern Districts of New York                                           2008
                                             State of New Jersey                                                              2007



I have currently, or within the year preceding the date of this application, made pro hac vice applications to this
Court in the following actions:
                                                                                                            Date of Application
     Case Number                                            Case Title                                      (Granted or Denied)*




*If denied, please explain:
(Attach additional form if
necessary)
Pursuant to Local Rule 83.15(a), applicants who do not have an office within the Northern District of Illinois must designate, at the
time of filing their initial notice or pleading, a member of the bar of this Court having an office within this District upon who service of
papers may be made.

                                   Has the applicant designated local counsel?        Yes    ✔              No

If you have not designated local counsel, Local Rule 83.15(b) provides that the designation must be made within thirty (30) days.
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Has the applicant ever been:

censured, suspended, disbarred, or otherwise disciplined by any court?                Yes                  No       ✔
or is the applicant currently the subject of an investigation of the
applicant’s professional conduct?                                                     Yes                  No       ✔
transferred to inactive status, voluntarily withdrawn, or resigned from the
bar of any court?                                                                     Yes                  No       ✔
denied admission to the bar of any court?                                             Yes                  No       ✔
held in contempt of court?                                                            Yes                  No       ✔
NOTE: If the answer to any of the above questions is yes, please attach a brief description of the incident(s) and the applicant’s current
status before any court, or any agency thereof, where disciplinary sanctions were imposed, or where an investigation or investigations
of the applicant’s conduct may have been instituted.

I have read the Rules of Professional Conduct for the Northern District of Illinois and the Standards for Professional Conduct within
the Seventh Federal Judicial Circuit, and will faithfully adhere to them. I declare under penalty of perjury that the foregoing is true and
correct.

March 14, 2018                                           S/   Jeffrey Chubak

                 Date                                               Electronic Signature of Applicant

                            Last Name                                         First Name                            Middle Name/Initial
Applicant’s Name
                           Chubak                                             Jeffrey

Applicant’s Law Firm       Storch Amini PC

                            Street Address                                                                          Room/Suite Number
Applicant’s Address
                           140 East 45th Street                                                                     25th Floor

                            City                         State                ZIP Code             Work Phone Number
                           New York                     NY                    10017               (212) 497-8247

(The pro hac vice admission fee is $10.00 and shall be paid to the Clerk. No admission under Rule 83.14 is effective until such
time as the fee has been paid.)


NOTE: Attorneys seeking to appear pro hac vice may wish to consider filing a petition for admission to the general bar of this Court. The
       fee for admission to the General Bar is $1.00 The fee for pro hac vice admission is $10.00 Admission to the general bar
       permits an attorney to practice before this Court. Pro hac vice admission entitles an attorney to appear in a particular case
       only. Application for such admission must be made ineach case; and the admission fee must be paid in each case.




         Rev. 01/01/2018
